                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                      Plaintiff              )
       v.                                    )      CASE NO.: 3:21-cr-00264
                                             )
                                             )
JOSHUA H. SMITH, et al.                      )
                                             )
                      Defendant              )


                     MOTION TO MODIFY DATE FOR SENTENCING

       COMES NOW Defendant, Joshua H. Smith by and through counsel of record, Phillip S.

Georges, and hereby joins the United States of America and moves this Honorable Court to

modify the sentencing date for defendant, Joshua H. Smith from March 28, 2023, to be continued

until after the motion to withdraw plea filed by the co-defendant, Brian Kelsey has been

resolved.

                                             Respectfully Submitted,
                                             PHILLIP S. GEORGES, PLLC

                                             Electronically Signed by:
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was filed with the Clerk
using the ECF system on the 19th day of March, 2023 to the following:

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